                 Case 20-11894-BLS       Doc 12     Filed 08/07/20    Page 1 of 8




                      IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT DELAWARE


 In re:                                               Chapter 11

 RGN-COLUMBUS IV, LLC, a Delaware limited             Case No. XX-XXXXXXX (BLS)
 liability company1

                  Debtor.


            STIPULATION (I) AUTHORIZING USE OF CASH COLLATERAL
          AND PROVIDING ADEQUATE PROTECTION AND (II) CONFIRMING
           ADMINISTRATIVE EXPENSE STATUS FOR FURTHER ADVANCES

          RGN-Columbus IV, LLC, a Delaware limited liability company (“Debtor”) and Regus

Corporation, a Delaware corporation (“Lender” and, together with the Debtor, the “Parties”), by

and through their undersigned counsel, hereby stipulate and agree as follows:

                                           RECITALS

          WHEREAS, the Debtor provides access to private office space, coworking desks, and

meeting rooms on flexible terms to business customers at its location in Columbus, Ohio (711

North High Street, Floors 4-6) (the “Columbus IV Center”);

          WHEREAS, the Debtor entered into a long-term non-residential real property lease for

the Columbus IV Center (the “Lease”) and entered into short term occupancy agreements with

occupants (the “Occupants”) for portions of the Columbus IV Center, which are customized as to

duration, configuration, services, and amenities;




   1
     The Debtor in this chapter 11 case is a disregarded entity for tax purposes and does not have
Federal Employer Identification Number. The mailing address for the Debtor is 3000 Kellway
Drive, Suite 140, Carrollton, Texas 75006.
               Case 20-11894-BLS          Doc 12      Filed 08/07/20     Page 2 of 8




       WHEREAS, the Debtor has entered into a Global Full Service Management Agreement

with Regus Management Group, LLC, a Delaware limited liability company (“RMG”), for all

services needed to operate the Columbus IV Center (the “Management Agreement”);

       WHEREAS, in the coming weeks, the Debtors intend to move the Court for authorization

to continue to operate under the Management Agreement;

       WHEREAS, the Debtor, other borrowers thereunder, and the Lender are parties to that

certain Senior Loan and Security Agreement, dated as of August 1, 2013 (as amended, restated,

or modified at any time, the “Loan Agreement”); the Debtor executed that certain Joinder

Agreement, dated October 31, 2017, pursuant to which the Debtor became party to the Loan

Agreement (as amended, restated, or modified at any time, the “Joinder Agreement”); the Loan

Agreement, the Joinder Agreement, and the other documents, instruments, and agreements

executed in connection therewith or related thereto are collectively referred to herein as the

“Loan Documents”;

       WHEREAS, as of the Petition Date (as defined below), the Debtor was indebted to the

Lender under the Loan Documents for certain principal amounts, plus total accrued and unpaid

interest and fees, and all other costs, fees and charges (including costs, fees, financial advisor’s

fees and attorneys’ fees) (collectively, and as the same may change from time to time, the

“Prepetition Indebtedness”);

       WHEREAS, pursuant to the Loan Documents, as security for the Prepetition

Indebtedness, the Debtor granted the Lender a senior security interest in the Collateral (as

defined in the Loan Agreement); the Lender properly perfected its security interests in the

Collateral;




                                                  2
               Case 20-11894-BLS         Doc 12     Filed 08/07/20    Page 3 of 8




        WHEREAS, in the ordinary course of business under the Management Agreement,

prepetition, among other duties, RMG would bill and collect all amounts owed by Occupants

(the “Occupancy Fees”). Occupancy Fees collected by RMG would be booked to the

intercompany account for the applicable period along with other intercompany transactions

between RMG and the Debtor for the period. The resulting balance between the Debtor and

RMG is then transferred to the Lender at each month-end closing of the books. As lease

payments come due for the Debtor, RMG will fund that Debtor’s bank account with the amount

that is due and subsequently initiate the lease payment to the landlord on behalf of the Debtor

thereby reducing the Debtor’s bank balance back to zero. In periods where Occupancy Fees for

the Debtor exceed lease payments and other costs funded by RMG in the period it would result

in a receivable due from the Lender to the Debtor (or be netted against any pre-existing balance

between those parties) (such excess amount, the “Surplus Fees”). In periods where Occupancy

Fees are less than the lease payments and other costs funded by RMG it would result in payable

due from the Debtor to the Lender (or be netted against any pre-existing balance between those

parties);

        WHEREAS, on July 30, 2020 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under subchapter V of chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 1181-1195; the

Debtor is authorized to continue to operate its business and manage its property as debtor-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code; as of the date hereof,

no request for appointment of an official committee of unsecured creditors, chapter 11 trustee, or

examiner has been made;

        WHEREAS, Rent (as such term is defined in the Lease) in the amount of approximately

$125,893.95, plus a late fee in the amount of $6,294.70 and interest in the amount of $41.39




                                                3
                Case 20-11894-BLS          Doc 12       Filed 08/07/20     Page 4 of 8




(the “August Rent”) came due under the Lease after the Petition Date and is presently payable

pursuant to section 365(d)(3) of the Bankruptcy Code;

        WHEREAS, as of the date of this Stipulation, it is not yet known whether the Debtor has

any available cash or is owed any Occupancy Fees from RGM that may be used to pay the

August Rent;

        NOW, THEREFORE, to facilitate the Debtor’s payment of the August Rent in

compliance with its obligations under section 365(d)(3) of the Bankruptcy Code, the Parties

agree as follows:

                                           AGREEMENT

        1.      Acknowledgment of Prepetition Indebtedness and Priority. The Debtor

acknowledges that (i) the Prepetition Indebtedness is absolutely and unconditionally due and

payable, without defense, offset or counterclaim, and the Debtor waives any right to object to the

allowance of the claims of the Lender in the Chapter 11 Case, (ii) the Lender has valid, binding

first priority perfected liens and security interests in the Collateral, and (iii) such liens are not

subject to defense, counterclaim, offset of any kind or subordination and are otherwise

unavoidable. The Parties shall confer in good faith upon the amount of the Prepetition

Indebtedness and stipulate to the same in connection with the motion for approval of debtor-in-

possession financing anticipated to be filed by the Debtor (the “DIP Financing Motion”).

        2.      Use of Cash Collateral; Further Advance by Lender. The Debtor acknowledges

that all cash in the possession of the Debtor, if any, or proceeds generated by the Collateral,

whether before or after the Petition Date, is the Lender’s cash collateral (as such term is defined

by 11 U.S.C. § 363(a), the “Cash Collateral”). Subject to the terms of this Stipulation, the

Lender agrees that the Debtor may use only a sufficient amount of the Cash Collateral, in the




                                                    4
               Case 20-11894-BLS            Doc 12    Filed 08/07/20    Page 5 of 8




ordinary course of its business, to pay the August Rent and for no other purpose in an aggregate

amount not to exceed $132,500.00. To the extent there is insufficient Cash Collateral to pay the

August Rent, the Lender agrees to advance an amount sufficient for the Debtor to pay the August

Rent (such amount, if any, the “Further Advance”), which the Debtor agrees shall constitute an

advance of unsecured credit in the ordinary course of business pursuant to section 364(a) of the

Bankruptcy Code, which shall constitute unsecured debt allowable, and in fact allowed, under

section 503(b)(1) of the Bankruptcy Code as an administrative expense in the Chapter 11 Case.

       3.      As adequate protection of the Lender’s interests in the Collateral and the Cash

Collateral, the Debtor agrees as follows:

            a. In the DIP Financing Motion, the Debtor will seek, among other things, to make

               its stipulations with respect to the amount, validity, priority, and perfection of the

               Prepetition Indebtedness and the Lender’s security interests in the Collateral, as

               applicable, binding upon all estate and non-estate parties, subject to the minimum

               challenge periods prescribed by the Local Rules of Bankruptcy Practice and

               Procedure of the United States Bankruptcy Court for the District of Delaware (the

               “Local Rules”).

            b. The Debtor shall not sell, assign, encumber or transfer any Collateral without the

               prior written consent of the Lender or order of the Bankruptcy Court.

            c. In the DIP Financing Motion, among other things, the Debtor will seek, to the

               extent of any Cash Collateral used since the Petition Date, to grant the Lender

               replacement liens on, and security interests in, all assets of the Debtors wherever

               located, which liens and security interests shall have the same dignity, priority,

               and effect as the liens and security interests held by the Lender prior to the




                                                  5
               Case 20-11894-BLS          Doc 12      Filed 08/07/20     Page 6 of 8




               Petition Date and shall be first-priority security interests in and liens on all such

               assets.

            d. In the DIP Financing Motion, the Debtor will, among other things, seek allowance

               of a superpriority claim in this Chapter 11 Case to the maximum extent allowed

               by section 507(b) of the Bankruptcy Code.

            e. The Debtor shall comply with the reporting requirements set forth in the Loan

               Documents, provide the Lender with copies of all pleadings and reports filed with

               the Bankruptcy Court or the United States Trustee, and any other financial reports

               or projections that the Lender, or its consultants, financial advisors or agents, may

               reasonably request from time to time. The Debtor agrees to cooperate with the

               Lender’s officers, employees, agents and financial advisors by allowing such

               parties to make reasonable inspections of all books and records related to the

               Collateral and the Debtor’s business.

            f. The Debtor will not open any deposit or other accounts into which any of the

               Cash Collateral will be deposited without the express written consent of the

               Lender or order of the Bankruptcy Court.

            g. Subject to any applicable limitations imposed by the Bankruptcy Code,

               Bankruptcy Rules, or Local Rules, the Debtor agrees to comply with and perform

               its obligations under the Loan Documents on a timely and current basis.

       4.      Administrative Expense Claim. The Lender shall not be required to file an

application for repayment of any Further Advance in order to be entitled to payment of the same

as an administrative expense in the Chapter 11 Case. The Debtor further agrees that any such




                                                  6
               Case 20-11894-BLS           Doc 12     Filed 08/07/20     Page 7 of 8




administrative expense claim shall be paid within five (5) business days of the Court’s approval

of any debtor-in-possession facility.

          5.   Reservation of Rights. The Lender reserves and retains all rights it may have as

to any claim, and against any Collateral and against any third parties, including any guarantors of

the Prepetition Indebtedness. The Lender reserves its rights to seek relief from the automatic

stay, to seek dismissal or conversion of this Chapter 11 Case, and to take such other steps as the

Lender may deem appropriate in the Chapter 11 Case. Nothing in this Stipulation is intended to,

nor shall it, limit or bind the Lender in any negotiations regarding any financing, including

proposed debtor-in-possession financing.

          6.   Modification of Agreement. This Stipulation sets forth the complete agreement of

the parties and may not be modified, waived or changed, except by a writing signed by all Parties

hereto.

          7.   Binding Effect of Stipulation. This Stipulation is binding upon the Parties and

their respective successors and assigns, including any successor entity under any plan of

reorganization. Any successor trustee in this Chapter 11 Case or any converted Chapter 7 case

shall be bound by this Stipulation.

          8.   Counterparts. This Stipulation may be executed in one or more counterparts each

of which shall be deemed an original, but all of which together shall constitute one and the same

agreement.

          9.   Right to Credit Bid.     Nothing set forth herein shall impair any right of the

Lender to credit bid obligations arising under the Loan Documents, in whole or in part, in

connection with any sale or disposition of assets in the Chapter 11 Case (including in connection




                                                  7
              Case 20-11894-BLS         Doc 12     Filed 08/07/20    Page 8 of 8




with a plan of reorganization for which confirmation is sought under section 1129(b)(2)(A)(i) of

the Bankruptcy Code).



 Dated: Wilmington, Delaware         /s/ Patrick A. Jackson
        August 7, 2020               Patrick A. Jackson (Del. Bar No. 4976)
                                     FAEGRE DRINKER BIDDLE & REATH LLP
                                     222 Delaware Avenue, Suite 1410
                                     Wilmington, DE 19801
                                     Tel.: (302) 467-4200
                                     Fax: (302) 467-4201
                                     Patrick.Jackson@faegredrinker.com

                                     Proposed Counsel to the Debtors
                                     and Debtors in Possession



 Dated: Wilmington, Delaware         /s/ Joseph M. Barry
        August 7, 2020               Joseph M. Barry (Del. Bar No. 4221)
                                     YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                     1000 North King Street
                                     Wilmington, DE 19801
                                     Tel.: (302) 571-6600
                                     Fax: (302) 571-1253
                                     jbarry@ycst.com

                                     Counsel to Regus Corporation




                                               8
